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 8                                IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        CASE NO. 1:11-CR-00354-LJO
12                                   Plaintiff,       FINAL ORDER OF FORFEITURE
13                            v.
14   JONATHAN OMAR MOJARRO,

15
                                    Defendant.
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18          WHEREAS, on March 19, 2014, this Court entered a Preliminary Order of
19 Forfeiture pursuant to the provisions of 21 U.S.C. § 853, based upon the plea agreement

20 entered into between plaintiff and defendant Raymond Avalos forfeiting to the United

21 States the following property:

22                           a)      Approximately $13,000.00 in U.S. Currency,
23          AND WHEREAS, Beginning April 1, 2014, for at least 30 consecutive days, the
24 United States published notice of the Court’s Order of Forfeiture on the official internet

25 government forfeiture site www.forfeiture.gov. Said published notice advised all third

26 parties of their right to petition the Court within sixty (60) days from the first day of
27 publication of the notice for a hearing to adjudicate the validity of their alleged legal

28 interest in the forfeited property;

      Final Order of Forfeiture                       1
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 1          AND WHEREAS, the Court has been advised that no third party has filed a claim
 2 to the subject property and the time for any person or entity to file a claim has expired.

 3          Accordingly, it is hereby ORDERED and ADJUDGED:
 4                   1. A Final Order of Forfeiture shall be entered forfeiting to the United States
 5   of America all right, title, and interest in the above-listed property pursuant to 21 U.S.C.
 6 § 853 and Fed. R. Crim. P. 32.2(b)(1), to be disposed of according to law, including all right,

 7 title, and interest of Jonathan Omar Mojarro.

 8                   2. All right, title, and interest in the above-listed property shall vest solely in
 9 the name of the United States of America
10                   3. The Bureau of Alcohol, Tobacco, Firearms and Explosives shall maintain
11 custody of and control over the subject property until it is disposed of according to law.

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13 IT IS SO ORDERED.

14      Dated:      May 29, 2015                           /s/ Lawrence J. O’Neill
15                                                   UNITED STATES DISTRICT JUDGE

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      Final Order of Forfeiture                        2
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